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                       UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

UNITED STATES OF AMERICA           )
                                   )
            v.                     )
                                   )
BIJAN RAFIEKIAN, et al.,           )                 Case Number 1:18-cr-457-AJT-1
                                   )
            Defendants.            )
__________________________________ )

                                            ORDER

       Presently pending is Defendant Rafiekian’s Motion to Compel Disclosure of Classified

Material and the Government’s Ex Parte Statement (“the Motion”) [Doc. No. 392], which

Defendant Rafiekian noticed on September 13, 2021 for a hearing on September 15, 2021 [Doc.

No. 400]. Upon consideration of the Motion, it is hereby

       ORDERED that the hearing presently scheduled for September 15, 2021 be, and the same

hereby is, CANCELLED and will be rescheduled as the Court deems necessary.

       The Clerk is directed to forward copies of this Order to all counsel of record.




September 14, 2021
Alexandria, Virginia




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